Filed 10/21/19                                   Case 19-21640                                             Doc 156



                  Said motion will be supported by this notice of motion, by the motion filed herewith,
       1
       2   by the pleadings and papers on file in this bankruptcy case, by the declaration in support of

       3   this motion and exhibits, if any, filed herewith, and by such oral and documentary evidence
       4
           as the Court may permit upon the hearing of this motion.
       5
                  PLEASE TAKE FURTHER NOTICE THAT pursuant to Local Bankruptcy Tule 9014-
       6
       7   1(f)(2)(iii) opposition, if any, shall be presented at the hearing on said motion. No written

       8   opposition is required since motion was filed less than 28 calendar days.
       9          Respondents may determine whether the matter has been resolved without oral
      10
           argument or whether the court has issued a tentative ruling, and can view [any] pre-hearing
      11
           dispositions by checking the Court’s website at www.caeb.uscourts.gov after 4:00 P.M. the
      12
      13   day before the hearing, and parties appearing telephonically must view the pre-hearing

      14   dispositions prior to the hearing.
      15
      16
            Date: October 21, 2019                           CIANCHETTA AND ASSOCIATES
      17
                                                             _/s/ Peter Cianchetta______________
      18
                                                             Peter Cianchetta, Attorney for
      19                                                     Deborah Miller-Zuranich

      20
      21
      22
      23
      24
      25
      26
      27
      28


                                                        Page 2 of 2
